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                                      IN THE UNITED STATES DISTRICT COURT
                                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION
                                                     Case No.:

              ECOM AUTHORITY, LLC,

                      Plaintiff,
              v.

              AMAZON.COM SERVICES, LLC,

                      Defendant.
                                                              /

                                           Verified Complaint for Injunctive Relief

                     1.      This case highlights a systematic overreach by Defendant Amazon.com Services

             LLC (“Amazon”) that has resulted in profound harm to Plaintiff Ecom Authority LLC (“EA”) and

             hundreds of its clients. As a premier member of Amazon’s Service Provider Network, EA has been

             a model participant in Amazon’s marketplace, adhering to every required standard and diligently

             managing the businesses of numerous sellers. Despite this, Amazon has arbitrarily and unjustly

             compromised over 595 seller accounts connected to EA, without legitimate cause or due process,

             leading to a cascade of irreparable financial, reputational, and operational damage.

                     2.      Amazon’s conduct is not only heavy-handed but also entirely opaque, cloaked in

             vague allegations of fraud and misconduct, none of which Amazon can substantiate with credible

             evidence. Instead, Amazon has wielded its platform dominance to freeze EA’s clients’ funds,

             dispose of their inventory, and dismantle their livelihoods, all while denying any meaningful

             recourse.

                     3.      The result is devastating. There are millions of dollars in inventory held or

             destroyed, substantial funds frozen, and thousands of dollars in unwarranted fees levied against

             EA’s clients. More troubling still is the existential threat Amazon’s actions pose to small businesses

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             that rely on the platform for their survival – businesses that have now been rendered unable to

             fulfill orders, generate revenue, or maintain customer relationships. Despite EA’s exhaustive

             efforts to resolve the matter through the proper channels, Amazon has responded with indifference,

             offering no clear path to resolution. Left with no alternative, EA now desperately seeks the

             intervention of this Court to halt Amazon’s arbitrary practices, recover the massive financial losses

             which continue to accrue, and restore fairness in a marketplace that has become a crucible for

             small businesses.

                                                Jurisdiction, Parties, and Venue

                     4.      This is an action for damages exceeding $75,000 exclusive of all interest, court

             costs, and attorneys’ fees, and involves a citizen one state against a citizen of a foreign state.

             Diversity jurisdiction is therefore proper before the federal district courts pursuant to 28 U.S.C. §

             1332(a)(2).

                     5.      Plaintiff Ecom Authority, LLC is a Florida limited liability company domiciled in

             Miami-Dade County, Florida.

                     6.      Defendant Amazon.com Services, LLC. is a Delaware limited liability company

             domiciled in Seattle, Washington but conducts substantial and not isolated business activity in

             Miami, Florida through its fulfillment center located at 1900 NW 132nd Place, Miami, Florida,

             33182 and has otherwise obtained a certificate of authority from the Florida Secretary of State to

             transact business in the State of Florida.

                     7.      Venue is proper in the U.S. District Court for the Southern District of Florida,

             Miami Division, since Amazon: (1) resides in this judicial district pursuant to 28 U.S.C. §

             1391(b)(1) and (c)(2) because it conducts substantial and not isolated business activity in this

             judicial district and is other subject to the Court’s in personam jurisdiction in this judicial district;



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             (2) this judicial district is where a substantial part of the events or omissions giving rise to the

             claim occurred; and (3) this judicial district is where a substantial part of property that is the subject

             of the action is situated. See 28 U.S.C. §1391.

                     8.      All conditions precedent relevant to the instant action have been performed,

             excused, complied with, or have otherwise been waived.

                                                       Relevant Background

             A.      About Ecom Authority, LLC

                     9.      EA is a full-service management company that sells on Amazon’s platform using

             only the fulfilled by Amazon (“FBA”) model. With more than a hundred employees, a 50,000

             square foot warehouse in Miami, Florida, and separate offices in Bogota, Columbia and Puerto

             Rico, EA has direct control over the picking, packing, and shipping processes associated with its

             operations. EA is projected to generate more than $50 million in gross revenue in Amazon sales in

             2024.

                     10.     EA was accepted as a member of Amazon’s distinguished Service Provider

             Network (“SPN”) on October 16, 2023, and subsequently became an active member of the

             program on January 30, 2024, which is a group of vetted third-party service providers who assist

             with almost every step of selling with Amazon. Members on Amazon’s service provider network,

             such as EA, meet a required set of rigorous standards, and they are qualified and trained on Amazon

             guidelines and policies.

                     11.     Accordingly, as a member of Amazon’s service provider network, EA provides

             comprehensive account management services, including inventory control, compliance with

             Amazon policies, and seller support communication.




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                        12.   EA’s clients are generally comprised of individuals or single owner entities who

             want to sell on Amazon, but lack the time and resources needed to run an e-commerce business.

             As such, EA offers its clients the unique ability to handle some of the more time-intensive tasks

             needed to run this kind of business so EA’s clients can take on a more passive approach to owning

             their own online store.

                        13.   Among the services offered by EA, it provides product sourcing services for its

             clients.

                        14.   EA utilizes its clients’ capital contributions to increase their combined purchasing

             power, which helps EA secure economies of scale that allow it to offer more favorable wholesale

             prices, ultimately resulting in increased profits for both EA and its clients when reselling products.

                        15.   EA starts this process by first determining the amount of product its clients want to

             purchase in a given month. When determining which products to purchase, EA goes through a

             careful selection process. EA performs this same analysis across hundreds of ASINs (“Amazon

             Standard Identification Numbers”) to avoid a situation where EA’s clients might be selling the

             same products or potentially competing against one another. Once the EA team finds the right

             products, EA then negotiates bulk deals on its clients’ behalf.

                        16.   Importantly, EA team members personally meet with every vendor and supplier in

             its network and confirm that they are legitimate and sell authentic goods before EA ever does

             business with them.

                        17.   Once these purchased products arrive at EA’s warehouse, EA’s team conducts a

             quality control inspection to verify they match their corresponding Amazon listing description and

             are in sellable condition. If these products pass EA’s inspection, they are then prepped and shipped

             to Amazon’s FBA warehouse for EA’s clients to sell in their stores.



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             B.      Compromised Accounts and Amazon’s Response

                     18.      On or around March 21, 2024, EA began experiencing a series of account

             deactivations, freezing of client funds, and other adverse actions that ultimately impacted an

             incredible 595 of its clients’ seller accounts.

                     19.      These deactivated accounts range from new accounts that never sold product to

             established accounts that have six-figure sales.

                     20.      EA initially believed the deactivations were due to a verification issue because each

             of EA’s affected clients received the same notice that Amazon was unable to verify information

             related to their seller accounts. See Composite Exhibit A.

                     21.      In response, EA submitted utility bills, credit card statements, bank statements,

             and/or other business documents (e.g. EIN letter) on behalf of its clients needing reverification,

             but doing so did not resolve the issue. Instead, Amazon replied to EA’s submissions with another

             generic notice, this time informing EA that it was unable to reactivate these client accounts because

             their seller accounts were used “to engage in deceptive, fraudulent, or illegal activity that harms

             our customers, other selling partners, and our store.” See Id.

                     22.      The purported basis for these notices is wrong. EA operates its business with

             transparency and integrity and is, and has always been, ready and willing to produce a complete

             paper trail that shows each product in EA’s clients’ stores as authentic.

                     23.      When EA contacted Amazon’s “Seller Support” for further assistance on this issue,

             EA was connected to protocol scripted call center agents who could not effectively assist EA. More

             specifically, these agents provided EA with the following statements in response to our request for

             further assistance with these deactivations:

                     •     “There is absolutely no path forward here. You may no longer sell on Amazon”;
                     •     “We cannot tell you anything at all about the issue on your account”; and

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                     •     “Amazon literally does not allow us to tell you anything or escalate past this
                           stage. We are sorry there is nothing you can do.”

                     24.      For one client, EA was told to submit another utility bill without receiving any

             indication as to what the issue was with the first utility bill EA submitted on its client’s behalf. It

             is common practice for Amazon to request the same documents over and over again despite having

             been sent the requested documents, sometimes even on multiple occasions.

                     25.      Simply put, EA has tried going through the proper channels to resolve these

             deactivations, but Amazon’s support team is too ineffective and ill-informed to meaningfully

             address EA’s clients’ issues.

                     26.      Since these deactivations first started, EA hired two separate third-party appeal

             companies that specialize in reinstating Amazon accounts. EA even tried to hire a third appeal

             company who advised they believed EA’s clients were facing a simple reverification issue.

                     27.      With respect to the two companies EA did hire, EA paid between $3,000 to $6,000

             and gave each of them one client account to test out. If EA were to hire these appeals specialists

             for the rest of its clients’ stores that have been deactivated, EA would have to pay in the high six

             figures with no guarantee that the accounts would be reinstated. Thus far, these two appeals

             specialists have not been able to get any client accounts reactivated.

             C.      Amazon’s Destruction of EA’s Client’s Inventory and Seizure of Property.

                     28.      Perhaps the more troubling development, after having made seemingly random and

             arbitrary determinations to deactivate accounts, Amazon holds all “deactivated” account inventory

             – even products unrelated to any “offense” – and confiscates, disposes of or destroys the seller’s

             inventory without any compensation or return of the inventory.

                     29.      During the time which an account is “deactivated,” Amazon freezes that seller bank

             account – which in most cases have positive account balances in the thousands – and charges the

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             client account service fees (which in reality are inventory disposal fees), and inventory storage

             fees.

                     30.     The breakdown of the damages caused by Amazon’s indiscriminate actions are as

             follows:

                             Total Inventory Held/Disposed:
                             Inventory Held Value:
                             Inactive (Deactivated) Stores: $5,205,000
                             Active Stores: $1,956,000
                             Total Inventory Held: $7,161,000

                             Disposed Inventory Value:
                             Inactive (Deactivated) Stores: $730,889
                             Active Stores: $35,274
                             Total Value of Disposed Inventory: $766,163

                             Total Funds Held:
                             Inactive (Deactivated) Stores: $453,965
                             Active Stores: $70,794
                             Total Funds Held: $524,759

                             Fees Charged to EA Client’s Accounts:

                             Storage Fees:
                             Inactive (Deactivated) Stores: $131,710
                             Active Stores: $47,906
                             Total Storage Fees: $178,977

                             Removal Fees:
                             Inactive (Deactivated) Stores: $1,019,765
                             Active Stores: $355,989
                             Total Removal Fees: $1,375,754

                             Disposal/Removal Fees for Disposed Inventory:
                             Inactive (Deactivated) Stores: $129,168
                             Active Stores: $15,813
                             Total Disposal/Removal Fees: $144,881

                     31.     Additionally, the total value of the management service agreements EA has with its

             impacted clients is approximately Eighteen Million Four Hundred Ninety-One and Five

             Hundred Dollars ($18,491,500.00).

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                       32.   In total, the potential damage caused Amazon’s indiscriminate action could reach

             approximately Twenty-Eight Million Six Hundred Forty-Three Thousand Seven Hundred

             Seventy-Seven Dollars ($28,643,773.00).

                       33.   The final result is total devastation of businesses and livelihoods on a widespread

             scale, including EA and its many customers.

             D.        Amazon’s Actions Have Caused Irreparable Harm and Loss of Livelihoods.

                       34.   Despite EA’s repeated efforts to cooperate and resolve the matter, Amazon has

             provided no clear explanation for its account deactivation, account freezing, or inventory

             destruction policies affected EA and hundreds of its clients.

                       35.   EA complied with all of Amazon’s requests for documentation and verification, yet

             Amazon continued to take arbitrary actions causing irreparable harm to EA and its clients.

                       36.   EA is unable to conduct business, fulfill orders, or maintain its relationships with

             hundreds of its affected clients, which has resulted in significant reputational damage and a loss of

             goodwill to EA that it has developed over the years as a leader in the FBA model.

                       37.   The financial impact of Amazon’s actions is severe. Not only are tens of millions

             of dollars at stake, but EA’s affected clients, many of whom are individuals, stand to lose their

             livelihoods.

                       38.   The inability to fulfill customer orders has not only resulted in lost sales to EA and

             its affected clients but has also damaged EA and its affected clients’ reputation with the purchasing

             public.

                       39.   EA clients rely on EA to provide it with authentic goods for resale on Amazon’s

             platform, given its membership in Amazon’s distinguished SPN.




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                     40.     Many of EA’s affected customers, who relied on EA as a vetted and trustworthy

             supplier, have complained and threatened suit against EA over Amazon’s actions further causing

             diminution of customer trust and EA’s reputation, goodwill and brand.

                     41.     One such client has acted on their threat, representing EA’s first lawsuit with a

             client. EA is currently defending itself in the case styled Aaron Merkow v. Ecom Authority, LLC,

             Case No. 2024-016329-CA-01, pending in the Circuit Court of the Eleventh Judicial Circuit in and

             for Miami-Dade County, Florida. Mr. Merkow’s lawsuit stems from Amazon’s suspension of his

             account on July 10, 2024, as part of Amazon’s broader actions impacting hundreds of EA’s clients.

             Without seeking any resolution or refund, Mr. Merkow filed the lawsuit, directly attributing his

             account’s suspension to EA. This litigation — the first EA has faced from a client — highlights

             the far-reaching consequences of Amazon’s wrongful deactivation policies, which are not only

             compromising EA’s reputation but also forcing EA to divert its resources from business operations

             to defending itself in legal disputes that are a direct result of Amazon’s misconduct.

                     42.     Each day that passes without EA’s clients’ access to their accounts and inventory

             results in further irreparable harm to EA and its affect customers’ business. The loss of revenue,

             business opportunities, and customer relationships and destruction of livelihoods continues to

             compound, leaving EA with no means of recovery without immediate court intervention.

                 E. Congress Has Taken Notice of Amazon’s Flawed, Automated Procedures.

                     43.     Amazon’s actions in this case reflect an overly broad and arbitrary approach to

             compliance, ostensibly in response to the INFORM Consumers Act (the “Act”).

                     44.     Upon information and belief, EA believes that in its effort to enforce compliance

             with the Act, Amazon appears to have implemented unrefined controls, likely through the use of

             A.I technology, that fail to distinguish between legitimate sellers like EA and those who are



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             genuinely engaged in fraudulent conduct. This indiscriminate approach throws the baby out with

             the bathwater, and has devastated EA’s and other’s businesses, causing irreparable harm through

             the loss of inventory, revenue, and market opportunities.

                     45.     Moreover, Amazon’s ability to monitor the sales activities of EA and its clients

             through the SPN raises serious questions about the inconsistency of its deactivation practices. If

             EA were truly engaged in any wrongdoing, such as selling counterfeit goods, Amazon could easily

             review the relevant sales data and take appropriate action based on objective information.

             However, rather than applying its policies uniformly, Amazon has selectively deactivated some of

             EA’s clients’ accounts while allowing others — whose inventory is sourced from the same

             suppliers and processed in the same manner — to continue selling without disruption. This

             arbitrary and inconsistent approach highlights the lack of transparency and fairness in Amazon’s

             deactivation processes, which could be handled far more equitably given Amazon’s comprehensive

             access to data regarding the legitimacy of the goods sold by EA and its clients.

                     46.     In short, the issues faced by EA are not isolated; they are part of a broader pattern

             of arbitrary actions by Amazon that have drawn significant criticism from government

             representatives. Members of Congress, including Congressman Christopher Smith, have expressed

             deep rooted concern over Amazon’s unfair enforcement practices, which have negatively affected

             numerous small businesses across the country.

                     47.     Congressman Smith, in his letter, specifically highlights Amazon’s arbitrary actions

             in suspending seller accounts and seizing inventory without providing adequate justification or

             due process. The letter underscores the lack of transparency and accountability in Amazon’s

             decision-making processes, and calls into question the platform’s compliance measures, which,

             like here, often punish legitimate sellers while ostensibly attempting to curb fraudulent activity.



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             The letter from Congressman Smith reflects mounting frustration over Amazon’s unwillingness to

             distinguish between compliant sellers and those acting in bad faith, and it advocates for reforms

             that would protect small businesses from unwarranted penalties. A copy of Congressman Smith’s

             letter is attached hereto as Exhibit B.

                       48.   Despite full cooperation by EA and its customers in providing documentation,

             fulfilling verification requests, and demonstrating the legitimacy of products, Amazon has

             persisted in denying reactivation of EA’s managed accounts and has unlawfully disposed of or

             seized its inventory, without any compensation. Therefore, this lawsuit seeks to put an end to

             Amazon’s wrongful actions and to obtain compensation for the substantial losses inflicted on EA’s

             business.

                                                    Count 1: Breach Contract

                       49.   Plaintiff incorporates and realleges paragraphs 1 through 48 as if set forth fully

             herein.

                       50.   EA and Amazon entered into the Service Provider Network Agreement (“SPN

             Agreement”). The SPN Agreement is a valid and binding contract.

                       51.   The SPN Agreement was intended to confer upon EA the right and ability to operate

             as a designated member of Amazon’s Service Provider Network (“SPN”), a status that includes

             the privilege of using the Amazon SPN trademark (the “Amazon SPN Mark”). The Amazon SPN

             Mark serves as a clear indication that EA is a trusted, vetted service provider, recognized by

             Amazon as compliant with its guidelines and policies. EA’s ability to utilize this Amazon SPN

             Mark was central to its business operations, as it signified to the public, clients, and partners that

             EA was operating at a higher standard – one of professionalism, integrity, and adherence to

             Amazon’s rigorous standards.


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                       52.    In fact, the introductory paragraph of the SPN Agreement provides that Amazon

             will provide a directory service which “[e]nables third-party service providers [such as EA] to

             make information about their services available to third party sellers [e.g. Amazon store owners]

             on Amazon.”

                       53.    Moreover, Section 9 of the SPN Agreement specifically provides that:

                              Amazon grants to [EA] a non-exclusive, non-transferable, non-
                              assignable, non-sublicensable, and revocable license to use the
                              Amazon Service Provider Network logo (as described in more detail
                              in Exhibit A of these terms, the ‘Amazon Mark’) once in the body
                              of a single web page promoting [EA’s] services to Amazon Sellers.

                       54.    EA’s ability to use the Amazon SPN Mark under the terms of the SPN Agreement

             was a critical component of the Agreement, as it conferred a visible mark of legitimacy and trust

             to EA’s clients and the broader marketplace.

                       55.    By its own advertising, Amazon promoted members of the SPN as “expert help for

             your business,” and bolstering its members as “[a] group of vetted third-party service providers

             who can help with almost every step of selling with Amazon.”1 Amazon further promotes trust in

             its SPN members by advertising that “[p]roviders meet a required set of standards, and they're

             qualified and trained on Amazon guidelines and policies.”2

                       56.    EA used its SPN member designation in order to instill confidence with its clients

             that EA is a trusted and vetted source to assist clients successfully establish their Amazon stores.

                       57.     Amazon has undermined and materially breached the SPN Agreement by, on the

             one hand, promoting SPN members, such as EA, as a trusted and verified source for management

             and product procurement for current and prospective Amazon store owners, and on the other,




             1
                 Available at: https://sell.amazon.com/tools/service-provider-network
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                 Id.
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             implementing an arbitrary and capricious back-office policy that indiscriminately labels EA

             sourced products as unauthentic or counterfeit resulting in account deactivations.

                     58.     Amazon’s policies have incorrectly led to at least 595 EA client seller accounts

             being compromised, which not only falsely implies that EA is involved in unprofessional or

             fraudulent conduct, but also has led to the erosion of trust between EA and its clients, many of

             whom rely on the Amazon SPN Mark as an assurance of EA’s status within Amazon’s ecosystem.

                     59.     Amazon’s actions constitute a direct, material breach of the SPN Agreement, as

             they have fundamentally damaged the benefits EA was supposed to receive under the contract. EA

             has been forced to expend countless hours and significant resources attempting to resolve

             Amazon’s unjustified deactivations, and despite these efforts, has suffered a material loss of

             goodwill and damage to its reputation in the marketplace. Additionally, EA’s business operations

             have been severely impacted, resulting in lost revenue, client trust, and opportunities for future

             growth.

                     60.     By arbitrarily deactivating and otherwise compromising hundreds of EA’s clients’

             seller accounts without legitimate cause, Amazon materially breached the very purpose of the SPN

             Agreement and damaged EA’s reputation and goodwill.

                     61.     As a result of Amazon’s breach, EA has suffered and continues to suffer significant

             damages, including but not limited to: (1) the costs associated with addressing and attempting to

             rectify Amazon’s wrongful deactivations; (2) damage to EA’s business relationships and loss of

             goodwill; (3) reputational harm caused by the false impression that EA was associated with

             fraudulent activities; (4) lost business opportunities and diminished client confidence; and (5) any

             other damages that will be demonstrated at trial.




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                       WHEREFORE, Plaintiff Ecom Authority, LLC respectfully requests that this Court enter

             judgment in its favor and against Defendant Amazon.com Services LLC, awarding damages in an

             amount to be determined at trial, plus prejudgment and post-judgment interest, attorneys’ fees, and

             any additional relief this Court deems just and proper.

                               Count 2: Breach of Covenant of Good Faith and Fair Dealing

                       62.    Plaintiff incorporates and realleges paragraphs 1 through 61 as if set forth fully

             herein.

                       63.    Every contract, including the SPN Agreement, contains an implied covenant of

             good faith and fair dealing, which requires that neither party take any action that would prevent

             the other party from receiving the full benefit of the contract.

                       64.    Section 9 of the SPN Agreement grants EA a license to use the Amazon SPN Mark

             to promote EA’s services to Amazon Sellers. EA’s ability to use the Amazon SPN Mark is central

             to its status within Amazon’s ecosystem and confers a mark of legitimacy and trust to EA’s clients.

                       65.    Amazon materially breached the covenant of good faith and fair dealing by

             arbitrarily deactivating hundreds of EA’s clients’ seller accounts. By doing so, Amazon materially

             undermined the value of the Amazon SPN Mark and frustrated EA’s ability to continue operating

             as a trusted and vetted SPN member.

                       66.    The deactivations falsely suggest that EA is involved in unprofessional or

             fraudulent activities, damaging its reputation and business relationships and causing the Amazon

             SPN Mark EA worked so hard to obtain as worthless.

                       67.    Amazon’s actions unfairly and improperly frustrated the purpose of the SPN

             Agreement by depriving EA of the full benefits of the contract, including the continued use of the

             Amazon SPN Mark to signal EA’s preeminent status and compliance with Amazon’s standards.


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             These actions were inconsistent with the reasonable expectations EA had under the Agreement and

             have led to a significant loss of goodwill associated with EA’s business.

                       68.   As a result of Amazon’s breach of the covenant of good faith and fair dealing, EA

             has suffered and continues to suffer significant damages, including but not limited to: (1) the costs

             associated with addressing and attempting to rectify Amazon’s wrongful deactivations; (2) damage

             to EA’s business relationships and loss of goodwill; (3) reputational harm caused by the false

             impression that EA was associated with fraudulent activities; (4) lost business opportunities and

             diminished client confidence; and (5) any other damages that will be demonstrated at trial.

                       WHEREFORE, Plaintiff Ecom Authority LLC respectfully requests that this Court enter

             judgment in its favor and against Defendant Amazon.com Services LLC, awarding damages in an

             amount to be determined at trial, plus prejudgment and post-judgment interest, attorneys’ fees, and

             any additional relief this Court deems just and proper.

                                   Count 3: Breach of Third-Party Beneficiary Contract

                       69.   Plaintiff incorporates and realleges paragraphs 1 through 48 as if set forth fully

             herein.

                       70.   Each of EA’s customers entered into a Business Solutions Agreement (“Business

             Solutions Agreement”) with Amazon, which governs the sale of goods through Amazon’s

             platform. The Business Solutions Agreement is a valid and binding contract between Amazon and

             EA’s customers.

                       71.   Under the Business Solutions Agreement, Amazon is obligated to provide services

             that allow sellers, including EA’s clients, to list, market, and sell their products on the Amazon

             platform. Amazon collects fees from sellers in exchange for providing access to these critical




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             services, and it expressly holds itself responsible for maintaining fair and functional operations of

             the marketplace.

                       72.   EA is a third-party beneficiary to the Business Solutions Agreement. Amazon was

             fully aware of EA’s participation in managing and optimizing the accounts of its customers,

             including through the explicit relationship established by EA’s designation as a member of

             Amazon’s SPN. The SPN was created specifically to formalize the role of third-party vendors, like

             EA, in assisting sellers with their Amazon operations. Through the SPN, Amazon not only

             recognized – it endorsed EA’s role in managing its customers’ accounts on Amazon’s platform.3

                       73.   As an SPN member, EA was authorized to use the Amazon SPN Mark, which

             signified its trusted status and formal participation in managing client accounts within Amazon’s

             marketplace. This designation is evidence of Amazon’s direct awareness that its sellers often

             engage third-party service providers, such as EA, to manage their businesses. The Business

             Solutions Agreement was entered into with the understanding that EA, as an SPN member, would

             actively participate in fulfilling the contractual terms, as it directly managed the day-to-day

             operations of many of Amazon’s seller accounts.

                       74.   The Business Solutions Agreement does not exclude third-party vendors, nor does

             it prohibit sellers from using trusted service providers like EA to assist in managing their accounts.

             In fact, Amazon’s establishment of the SPN effectively encourages this practice by creating a

             network of approved providers. By enabling EA to operate as a trusted service provider, Amazon

             acknowledged and accepted that EA had a vested interest in the performance of the Business

             Solutions Agreement between Amazon and EA’s customers.




             3
                 See Id.
                                                              16
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                       75.   Amazon breached the Business Solutions Agreement by arbitrarily deactivating

             hundreds of EA’s clients’ seller accounts without legitimate cause. These actions undermined EA’s

             role as a third-party vendor and disrupted its ability to manage its clients’ accounts, thus frustrating

             EA’s ability to fulfill its obligations to its clients and depriving it of the benefits it was entitled to

             as a third-party beneficiary.

                       76.   Amazon’s breach of the Business Solutions Agreement was made in bad faith and

             without regard to the substantial reliance placed on EA’s services by its clients. By deactivating

             these seller accounts without cause, Amazon harmed EA’s business operations, diminished its

             reputation, and interfered with EA’s ability to maintain client relationships.

                       77.   As a direct and proximate result of Amazon’s breach of the Business Solutions

             Agreement, EA has suffered significant damages, including but not limited to: (1) loss of revenue

             and business from clients whose accounts were deactivated; (2) reputational damage caused by

             Amazon’s actions; (3) loss of goodwill with its clients; and (4) additional damages to be proven at

             trial.

                       WHEREFORE, Plaintiff Ecom Authority LLC respectfully requests that this Court enter

             judgment in its favor and against Defendant Amazon.com Services LLC, awarding damages in an

             amount to be determined at trial, plus prejudgment and post-judgment interest, attorneys’ fees, and

             any additional relief this Court deems just and proper.

                                                Count 4: Preliminary Injunction

                       78.   Plaintiff incorporates and realleges paragraphs 1 through 48 as if set forth fully

             herein.

                       79.   Amazon has wrongfully deactivated hundreds of EA’s clients’ seller accounts

             without providing legitimate cause or allowing EA’s clients a reasonable opportunity to remedy


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             any alleged violations under the Business Solutions Agreement. This wrongful deactivation has

             caused untold damage to EA’s business and reputation.

                     80.     Amazon’s arbitrary deactivation of these accounts has caused irreparable harm to

             EA’s business operations. EA, as a trusted service provider and member of Amazon’s SPN, relies

             on the continued operation of its clients’ accounts to fulfill its business obligations. Without access

             to these accounts, EA’s business relationships have been severely damaged, and its reputation and

             goodwill in the marketplace have been significantly compromised.

                     81.     As a result of Amazon’s actions, EA is suffering irreparable harm for which there

             is no adequate remedy at law. EA cannot continue to manage its clients’ accounts or maintain its

             status as a trusted provider within Amazon’s SPN. EA’s inability to provide services has resulted

             in significant financial losses, damage to its reputation, and a loss of future business opportunities

             that cannot be remedied solely by monetary damages.

                     82.     Without injunctive relief, EA will continue to suffer irreparable harm, including the

             loss of its ability to operate within Amazon’s marketplace, the ongoing harm to its relationships

             with its clients, and further reputational damage. Monetary damages are insufficient to address the

             long-term harm to EA’s business and the loss of trust from its clients and the broader marketplace.

                     83.     EA has a substantial likelihood of success on the merits of its claims. Amazon’s

             actions were arbitrary, in violation of the Business Solutions Agreement, and not based on any

             legitimate evidence of wrongdoing by EA or its clients. Furthermore, the balance of equities favors

             EA, as it has complied with Amazon’s policies while Amazon has wrongfully deactivated its

             clients’ accounts without cause.

                     84.     The issuance of injunctive relief is in the public interest. It will ensure that Amazon

             does not engage in arbitrary and harmful practices that undermine small businesses and service



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             providers that depend on its platform to operate, and it will restore fairness to Amazon’s business

             practices.

                     85.     EA is prepared to pay a bond if required, though such a bond should be minimal

             given the substantial harm EA has suffered and the fact that Amazon controls the accounts, funds,

             and inventory of EA’s clients.

                     86.     EA is entitled to injunctive relief pursuant to Federal Rule of Civil Procedure 65.

                     WHEREFORE, Plaintiff Ecom Authority LLC respectfully requests that this Court enter

             an order granting a preliminary and permanent injunction against Defendant Amazon.com Services

             LLC, requiring Amazon to: (1) reinstate the seller accounts of EA’s clients that were wrongfully

             deactivated; (2) cease any further wrongful deactivations of EA’s clients’ seller accounts; (3)

             provide EA’s clients with an opportunity to address any alleged compliance issues in accordance

             with the Business Solutions Agreement; (4) unfreeze all funds and inventory associated with EA’s

             clients’ accounts; and (5) for such other relief as this Court deems just and proper.

                     Dated: October 22, 2024                 Respectfully submitted,

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                                                             Verification

                  I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE
             UNITED STATES OF AMERICA AND FLORIDA THAT I HAVE READ THE
             FOREGOING DECLARATION AND THAT THE FACTS STATED HEREIN ARE TRUE
             AND CORRECT.


             Executed on October 22, 2024.




                                                                            Daniel Cohen




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